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                     EXHIBIT A
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                                                        STANDARDIZED FUND ACCOUNTING REPORT

                                                          SECURITIES AND EXCHANGE COMMISSION
                                                                                 vs.
                                                         NATURAL DIAMONDS INVESTMENT CO., et al.
                                                             CASE NO.: 19-CV-80633-ROSENBERG
                                                        Reporting Period April 30, 2022 through July 31, 2022

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                                                                                                                                  Detail                       Subtotal
                   Beginning Balance
     Line 1                                                                                                                                                    $2,399,606.41

     Line 2        Business Income                                                                                                                                        $0.00

     Line 3        Cash and Securities                                                                                                                                    $0.00
                   Interest/Dividend
     Line 4        Income                                                                                                                                                 $0.00

     Line 5        Business Asset Liquidation                                                                                                                             $0.00

     Line 6        Personal Asset Liquidation                                                                                                                             $0.00
                   Third-Party Litigation
     Line 7        Income                                                                                 Bank Credit                                                 $25.00

     Line 8        Miscellaneous - Other                                                                  Wire Transfer (Transfer from NDIC Monitor Account)      $46,450.70

                   Proceeds of Sale of Remaining Jewelry                                                  Proceeds of Sale of Remaining Jewelry                    $4,560.00

                   TOTAL FUNDS (Lines 1-8)                                                                                                                     $2,450,642.11

                                         Decreases in Fund Balance:


     Line 9        Disbursements to Investors                                                                                                                  $2,323,602.11

     Line 10       Disbursements for Receivership Operations                                                                                                              $0.00
     Line 10a


     Line 10b      Business Asset Expenses (Bank Service Charge)                                          Wire Transfer Fees                                          $30.00

     Line 10c      Personal Asset Expenses

     Line 10d      Investment Expenses
                   Third-Party Litigation Expenses
     Line 10e

                   Taxes                                                                                                                                          $62,000.00

                   Litigation Expenses                                                                                                                                    $0.00

                   Total Third-Party Litigation Expenses                                                                                                                  $0.00

                   Total Disbursements for Receivership Operations:                                                                                            $2,385,632.11

                     Disbursements for Distribution Expenses Paid by the Fund:
     Line 11

                                  Distribution Plan Development Expenses:
     Line 11a

                   Fees

                   Fund Administrator                                                                                                                                     $0.00
                   Independent Distribution
                   Consultant (IDC)                                                                                                                                       $0.00

                   Distribution Agent                                                                                                                                     $0.00

                   Consultants                                                                                                                                            $0.00

                   Legal Advisers                                                                                                                                         $0.00

                   Tax Advisers                                                                                                                                           $0.00

                   Administrative Expenses                                                                                                                                $0.00

                   Miscellaneous - Other                                                                                                                                  $0.00

                   Total Plan Development Expenses                                                                                                                        $0.00

                                 Distribution Plan Implmentation Expenses:
     Line 11b

                   Fees

                   Fund Administrator                                                                                                                                     $0.00
                   Independent Distribution
                   Consultant (IDC)                                                                                                                                       $0.00

                   Distribution Agent                                                                                                                                     $0.00

                   Consultants                                                                                                                                            $0.00

                   Legal Advisers                                                                                                                                         $0.00

                   Tax Advisers                                                                                                                                           $0.00




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                          Administrative Expenses                                                     $0.00

                          Investor Identification                                                     $0.00

                          Notice/Publishing Approved Plan                                             $0.00

                          Claimant Identification                                                     $0.00

                          Claims Processing                                                           $0.00

                          Website Maintenance/Call Center                                             $0.00

                          Fund Administrator Bond                                                     $0.00

                          Miscellaneous - Other                                                       $0.00

                          Federal Account for Investor Restitution (FAIR) Reporting Expenses          $0.00

                          Total Plan Implementation Expenses Not Paid by the Fund                     $0.00
                          Total Disbursements for Distribution Expenses Paid by the
                          Fund                                                                        $0.00

                                            Disbursements to Court/Other:
     Line 12

     Line 12a             Investment Expenses/Court Registry Investment System (CRIS) Fees            $0.00

     Line 12b             Federal Tax Payments                                                        $0.00

                          Total Disbursements to Court/Other:                                         $0.00

                          Total Funds Disbursed (Lines 9-11):                                  $2,385,632.11

     Line 13              Ending Balance (As of 7/31/2022):                                        65,010.00

     Line 14              Ending Balance of Fund - Net Assets:

     Line 14a             Cash & Cash Equivalents                                                     $0.00

     Line 14b             Other Assets or Uncleared Funds

                          Total Ending Balance of Fund - Net Assets



     OTHER SUPPLEMENTAL
                                    Report of Items NOT to be Paid by the Fund:
     INFORMATION:
                          Disbursements for Plan Adminisration Expenses Not Paid by the
     Line 15              Fund:                                                                       $0.00

     Line 15a             Fees                                                                        $0.00

                          Fund Administrator                                                          $0.00

                          IDC                                                                         $0.00

                          Distribution Agent                                                          $0.00

                          Consultants                                                                 $0.00

                          Legal Advisers                                                              $0.00

                          Tax Advisers                                                                $0.00

                          Administrative Expenses                                                     $0.00

                          Miscellaneous                                                               $0.00

                          Total Plan Development Expenses Not Paid by the Fund                        $0.00

                                 Plan Implementation Expenses Not Paid by the Fund:
     Line 15b                                                                                         $0.00

                          Fees

                          Fund Administrator                                                          $0.00

                          IDC                                                                         $0.00




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                                          Distribution Agent                                                       $0.00

                                          Consultants                                                              $0.00

                                          Legal Advisers                                                           $0.00

                                          Tax Advisers                                                             $0.00

                                          Administrative Expenses                                                  $0.00

                                          Investor Identification:                                                 $0.00

                                          Notice/Publishing Approved Plan                                          $0.00

                                          Claimant Identification                                                  $0.00

                                          Claims Processing                                                        $0.00

                                          Website Maintenance/Call Center                                          $0.00

                                          Fund Administrator Bond                                                  $0.00

                                          Miscellaneous                                                            $0.00

                                          FAIR Reporting Expenses                                                  $0.00

                                          Total Plan Implementation Expenses Not Paid by the Fund                  $0.00

                                              Tax Administrator Fees & Bonds Not Paid by the Fund:
     Line 15c
                                          Total Disbursements for Plan Administration Expenses Not Paid
                                          by the Fund                                                              $0.00

                                                Disbursements to Court/Other Not Paid by the Fund:
     Line 16                                                                                                       $0.00

     Line 16a                             Investment Expenses/CRIS Fees                                            $0.00

     Line 16a                             Federal Tax Payments                                                     $0.00

                                          Total Disbursements to Court/Other Not Paid by the Fund:                 $0.00

     Line 17                              DC & State Tax Payments                                                  $0.00

     Line 18                              No. of Claims:                                                     212

     Line 18a                             # of Claims Received This Reporting Period                         212

     Line 18b                             # of Claims Received Since the Inception of Fund                   212

     Line 19                              No. of Claimants/investors:                                        212

     Line 19a                             # of Claimants/Investors Paid This Reporting Period                 0

     Line 19b                             # of Claimants/Investors Paid Since Inception of Fund               0




     Receiver:




     By:______________________________________
        Jeffrey C. Schneider, Court Appointed Receiver

        Jeffrey C. Schneider
        (printed name)

        Date: August 15, 2022




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